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INTELLECTUAL PROPERTY LAW

 

January-26,202.1——_____— a
Via ECF
The Honorable Colleen McMahon
Daniel Patrick Moynihan Lb ol
United States Courthouse oS
500 Pearl St.
New York, NY 10007-1312
Re: = Paul Rudolph Foundation v. Paul — Heritage F oundation _ t{29] x
Case No.: 1:20-cv-8180-CM (SDNY)

Dear Chief Judge McMahon:

We represent Defendants Paul Rudolph Heritage Foundation and Ernst Wagner
(“Defendants”) and respectfully request a one week extension of time to file a motion to dismiss
certain claims in Plaintiff's Amended Complaint. This is the first request for an extension of time
of this deadline. Plaintiff has consented to this request for an extension of time, and this extension
should not affect other deadlines.

Plaintiff filed its Amended Complaint on January 14, 2021, adding over eighty new
allegations and one new cause of action. Defendants’ response is due on January 28, 2021.
Defendants request that this deadline be extended one week to February 4, 2021.

Good cause exists for this extension of time because co-counsel for Defendants, Barbara
Hoffman, who is taking the lead on preparing several of Defendants’ motion to dismiss arguments,
has unexpectedly fallen ill and is currently unable to work on the motion.

Defendants also request that the 25 page limit for this motion be extended to 30 pages.
Plaintiff's Amended Complaint has over 300 paragraphs and asserts nine causes of action (some
of which combine several different claims). Defendant intends to seek dismissal of six of the nine
counts and requests this additional five pages to have adequate room to brief these arguments.

Thank you for your consideration.

 

 

 

 

 

 

 

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USDC SDNY Very truly yours,

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ELECTRONICALLY FILED s/ Jeffrey A. Lindenbaum

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DATE FILED: 01123|202\_|

 

 

cc: Counsel of Record (Via ECF)

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